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                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                       :
                                               :
                       Plaintiff,              :
       v.                                      :       Civil No. 3:20CV1556 (JBA)
                                               :
$4,203.00 IN UNITED STATES                     :
CURRENCY                                       :
                                               :
                       Defendant.              :
                                               :
[CLAIMANT: CYNTHIA ACOSTA]                     :


                                WARRANT OF ARREST IN REM

TO: The United States Secret Service for the District of Connecticut:

       WHEREAS, on October 14, 2020, the United States of America filed a verified

complaint for civil forfeiture in the United States District Court for the District of Connecticut

against the defendant property, alleging that the property is subject to seizure and civil forfeiture

to the United States for the reasons alleged in the complaint; and

       WHEREAS, the defendant property is currently in the possession, custody or control of

the United States Secret Service; and

       WHEREAS, in these circumstances Supplemental Rule G(3)(b)(i) directs the Clerk of the

Court to issue an arrest warrant in rem for the defendant property; and

       WHEREAS, Supplemental Rule G(3)(c)(i) provides that the warrant of arrest in rem must

be delivered to a person or organization authorized to execute it who may be a marshal or any

other United States officer or employee, someone under contract with the United States, or

someone specially appointed by the court for that purpose.
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       YOU ARE, THEREFORE, HEREBY COMMANDED to arrest the defendant property as

soon as practicable by serving a copy of this warrant on the custodian in whose possession,

custody or control the property is presently found, and to use whatever means may be

appropriate to protect and maintain it in your custody until further order of this Court.

       YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file

the same in this Court with your return thereon, identifying the individuals upon whom copies

were served and the manner employed.

       IN WITNESS WHEREOF, I, Clerk of the United States District Court for the District of

Connecticut, have caused the foregoing Warrant of Arrest in Rem to be issued pursuant to the

authority of the Supplemental Rule G(3)(b)(i) and the applicable laws of the United States and

have hereunto affixed the seal of said Court at New Haven, Connecticut this       1 5 t h day of

October, 2020.


                                              ROBIN D. TABORA, CLERK


                                             By:
                                                       Deputy Clerk




   10/15/2020




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